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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

   In re                                               §
                                                       §   Civ. Act. No. 3:21-cv-0881-x
   HIGHLAND CAPITAL MANAGEMENT,                        §
   L.P.                                                §   Consolidated with:
                                                       §   3:21-cv-0880-x
             Reorganized Debtor/Plaintiff,             §   3:21-cv-1010-x
                                                       §   3:21-cv-1378-x
   v.                                                  §   3:21-cv-1379-x
                                                       §   3:21-cv-3160-x
   NEXPOINT ASSET MANAGEMENT,                          §   3:21-cv-3162-x
   L.P. (f/k/a HIGHLAND CAPITAL                        §   3:21-cv-3179-x
   MANAGEMENT FUND ADVISORS,                           §   3:21-cv-3207-x
   L.P.), et al.,                                          3:22-cv-0789-x

             Defendants.

             NOTICE OF APPEAL TO UNITED STATES COURT OF APPEALS
                            FOR THE FIFTH CIRCUIT

           Highland Capital Management Services, Inc. (“HCMS”), defendant in Civ. Act. No.

  3:22-cv-0881-x (consolidated with the above-captioned matters) and the adversary proceeding

  styled Highland Capital Management, L.P. vs. Highland Capital Management Services, Inc.,

  et al., Adversary Proceeding No. 21-03006-sgj, appeals to the United States Court of Appeals

  for the Fifth Circuit from the following orders of the District Court for the Northern District

  of Texas: (1) the AMENDED FINAL JUDGMENT AGAINST HIGHLAND CAPITAL

  MANAGEMENT SERVICES, INC. entered in this consolidated case as Dkt. 147 on August

  3, 2023, and (2) Electronic Orders Dkt. 129 and Dkt. 131 (clarified by Electronic Order Dkt.

  135, entered on July 6, 2023) which denied as moot the Motion for Ruling on Pending

  Objections (addressing, inter alia, an Objection to Order Denying Motions to Extend Expert

  Disclosure and Discovery Deadlines).




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           The parties to the judgment appealed from and the names and addresses of their

  respective attorneys are as follows:

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  Dated: September 1, 2023

                               Respectfully submitted,

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                               CERTIFICATE OF SERVICE

          The undersigned hereby certifies that, on September 1, 2023, a true and correct copy
  of the foregoing document was served via the Court’s CM/ECF system on all parties registered
  to receive electronic notices in this case.

                                       /s/ Deborah Deitsch-Perez
                                       Deborah Deitsch-Perez




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